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AO 106 (Rev. 01/09) Application for a Search Warrant




                                                                                             for the
                                                                      Western District of New York

                                                  In the Matter of the Search of
                              (Briefly describe the property to be searched or identify the person by name and address.)


 (1) A black/blue Samsung Galaxy 9+ cell phone, serial#: R38K3090VLV
 (Subject Phone 1);
 (2) A black Samsung Galaxy 8+,IMEI#: 357725083086273 (Subject Phone 2);
                                                                                                                                            Case No. 18-MJ-1087
 (3) A black Apple iPhone, FCC ID#: BGC-E3092A IC#: 579C-E3092A
 (Subject Phone 3); and
 (4)A black ZTE cell phone, serial#: 32F477066773 (Subject Phone 4)

                                                   APPLICATION FOR A SEARCH WARRANT

       I, a federal law enforcement officer or an attorney for the government, request a search warrant and state
under penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched andgive its location)'.


  See descriptions included in Exhibit A, attached and incorporated by reference.

located in the Western District of New York, there is now concealed (identify the person or describe the property to be seized)'.
  The items set forth on the attached schedule of items to be seized, attached hereto as Exhibit B and incorporated by
  reference.

The basis for search under Fed. R. Grim. P. 41(c)is (check one ormore)\
       El evidence of a crime;
       El contraband, fruits of crime, or other items illegally possessed;
       El property designed for use, intended for use, or used in committing a crime;
       □ a person to be arrested or a person who is unlawfully restrained.
The search is related to violations of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B).

The application is based on these facts:

             El    continued on the attached sheet.
            ^ Delayed notice of TC) days (give exact ending date if more than 30 day^                                                                       Jis
                   requested under 18 U.S.C. § 3103a, the basis of which is set forth ^n/th^ttached sheet.

                                                                                                                           V./   \Apyicant's signature
                                                                                                          STEPHEN J. CHOKSHl
                                                                                                          Special Agent
                                                                                                          Drug Enforcement Administration
                                                                                                                                  Printed name and title


Sworn to before me and signed in my presence.

Date: JulVi^ .2018                                                                                                                     /f?
                                                                                                                                     Judge's signati


                                                                                                          HONORABLE JEREMIAH J. MCCARTHY
City and state: Buffalo. New York                                                                         United States Magistrate Judge
                                                                                                                                   Printed name and Title
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                         EXHIBIT A




                      DESCRIPTIONS
                OF ITEMS TO BE SEARCHED



              SUBJECT PHONES 1 THROUGH 4
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                                           SUBJECT PHONE 1


A black/blue Samsung Galaxy 9+ cell phone, serial#: R38K3090VLV (Subject Phone 1)




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                                    SUBJECT PHONE 2

A black Samsung Galaxy 8+,IMEI#: 357725083086273(Subject Phone 2)




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                            SUBJECT PHONE 3


A black Apple iPhone, FCC W#:BGC-E3092AIC#: 579C-E3092A (Subject Phone 3)




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                                                                   v..      ^




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                                SUBJECT PHONE 4


A black ZTE cell phone, serial#: 32F477066773 (Subject Phone 4)

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                                   EXHIBIT B

      SCHEDULE OF ITEMS TO BE SEARCHED FOR AND SEIZED


a.      Records of telephone calls, including incoming, outgoing, and missed calls,

        contact information, including addresses, email addresses and telephone

        numbers, documents and files that reflect names, email addresses, email

        messages, addresses, telephone numbers and objects related to:(i)the purchase,

        acquisition,    concealment,   shipment,     receipt   and   distribution   of

        methamphetamine, including any code words used to refer to such controlled

        substances; (ii) packages and shipments from California, Puerto Rico or other

        known sources of methamphetamine; (iii) the exchange of money or goods

        related to the purchase, acquisition, shipment, receipt and distribution of

         methamphetamine, including any code words used to refer to such controlled

        substances; and (iv) threats to individuals; and photographs related to the

        above.


b.      Records of text messages, bbm messages, and email messages, including

        incoming and outgoing text messages, bbm messages, and email messages, and

        the text, bbm, and email messages related to: (i) the purchase, acquisition,

        concealment, shipment, receipt and distribution of methamphetamine,

        including any code words used to refer to such controlled substances; (ii)

         packages and shipments from California, Puerto Rico or other known sources

         of methamphetamine; (iii) the exchange of money or goods related to the

         purchase, acquisition, shipment,receipt and distribution ofmethamphetamine,

         including any code words used to refer to such controlled substances; and (iv)

         threats to individuals.
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c.      Records regarding ownership ofand/or possession ofthe Items to be Searched;

        and


d.      Electronic information, data, addresses, maps, and recordings of travels,

        destinations, intended travels, approximate ground position by utilizing

        satellites, including historical information, navigation routes, satellite

         waypoints, saved addresses, destination points, location, speed, and other

        positioning data.
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                                         AFFIDAVIT




STATE OF NEW YORK )
COUNTY ERIE       )                SS;
CITY OF BUFFALO   )




       STEPHEN J. CHOKSHI,Special Agent with the Drug Enforcement Administration,

United States Department of Justice, having been duly sworn, states as follows:



       1.      I am a Special Agent (SA) of the United States Drug Enforcement

Administration(DEA). As such, I am an "investigative or law enforcement officer" of the

United States who is empowered by law to conduct investigations of and to make arrests for

offenses enumerated in the Comprehensive Drug Abuse Prevention and Controlled Substance

Act of 1970, Title 21 ofthe United States Code(USC),as amended. As a Special Agent with

the DEA,your affiant is also an investigative law enforcement officer ofthe United States of

America within the meaning of Section 2510(7) of Title 18 United States Code (USC). I

have been employed by the Drug Enforcement Administration(DEA)since February 2010.



       2.      As part of my employment with the DEA,I successfully completed formalized

training at the United States Justice Department Training Facility, Drug Enforcement

Administration Training Academy. During this training, I received detailed training, both

academic and practical application, in the areas of informant handling/debriefing, drug

packaging, pricing, importation, and trafficking methods. In addition, I received both

academic and practical application training in surveillance and counter surveillance
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techniques/methods. I received legal instruction in federal drug conspiracy laws, preparing

drug affidavits, the Controlled Substances Act, Fourth Amendment Searches and Seizures,

Federal Rules ofEvidence, and the execution ofsearch warrants. Based on my training and

conversations with other Special Agents and Task Force Officers of the DEA,I am familiar

with how controlled substances are cultivated, manufactured, processed, packaged,

distributed, sold, and used within the framework of drug trafficking.



       3.     I have participated in numerous investigations that have targeted violators of

Federal and State narcotics laws. I have also participated in numerous debriefings ofnarcotic

traffickers. Cooperating Individuals, and Sources ofInformation.



       4.     My investigative experience detailed herein, and the experience of other law

enforcement agents and officers who are participating in this investigation, serve as the basis

for the opinions and conclusions set forth herein. This affidavit is being submitted on a

limited purpose, that is, a probable cause determination relative to the requested search

warrant; therefore I have not presented all ofthe facts ofthis investigation to date. I have set

forth only the information I believe to be necessciry to establish probable cause that the Items

to be Searched are evidence of, were used in committing, and/or contain

evidence/fruits/instrumentahties of violations of Title 21, United States Code, Sections

841(a)(1), 841(b)(1)(B) and 846.



       5.     This affidavit is being submitted in support of the application for search

warrants for four(4)cellular telephone devices, their SIM cards and component parts("Items
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to be Searched") which were seized on June 18,2018, during the arrest ofJamell TRAPP and

Marcus BOWMAN and the execution of a federal search warrant at 18 Wisteria Drive,

Fredonia, NY, 14063, and are in the custody of the DBA. The items to be searched are

identified as follows:

       a.     a black/blue Samsung Galaxy 9+ cell phone, serial#: R38K3090VLV

              ("Telephone 1");

       b.     a black Samsung Galaxy 8+,IMEI#: 357725083086273("Telephone 2");

       c.     a black Apple iPhone, FCC ID#: BGC-E3092A IC#: 579C-E3092A

              ("Telephone 3");

       d.     a black ZTE cell phone, serial#: 32F477066773("Telephone 4");



                         BACKGROUND OF INVESTIGATION


       6.     Members ofthe FBI Streets Task Force(SSTF), Jamestown Police Department

(JPD, and Drug Enforcement Administration(DEA), have been investigating members and

associates ofa drug trafficking organization who are responsible for the distribution ofpowder

cocaine, crack cocaine, and methamphetamine in and around Jamestown, NY. The

methamphetamine is believed to originate in Mexico and is then moved to southern

California for shipment to Western New York.           Members and/or associates of this

organization are also suspected of violent acts, including the suspected murder of victim

JOSEPH ANTHONY. Members of this organization include ERNEST CLAYBURN

CAULEY JR, ZACKIEL LEONARD FIELDS JR, RYAN LOPEZ,DANNY MICHAEL,

ALEXIS HALL, SEARCY FIELDS, JACOB MOTHERWELL, MICHAEL DAVIS,
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DESTINY HARE, ANDREW BENNETT, JAMELL TRAPP, MARCUS MARTIN

BOWMAN and others yet identified.



       7.      To date investigators have conducted over 40 controlled evidence purchases

which included consensually recorded meetings with members of this drug traflhcking

network. Law Enforcement has purchased over 250 grams of methamphetamine, 3.5 grams

crack cocaine, and 3.5 grams powder cocaine. Law Enforcement conducted a controlled

delivery of 449.9 grams of methamphetamine to RYAN LOPEZ and executed a Search

Warrant on a vehicle occupied by ERNEST CAULEY JR and ZACKIEL FIELDS JR.,

which resulted in the seizure of895.8 grams of methamphetamine. The Investigation to date

has identified locations that this network utilizes to facilitate their networking among the

subjects listed above in furtherance of drug trafficking activity.



       8.      Based on my training and experience, narcotics distributors utilize cellular

communications to conduct their transactions. In this specific case, law enforcement officers

have conducted over 40 controlled purchases from various members ofthe DTO.Every single

controlled purchase was set up by a call or text via a cellular telephone number attributed to

each individual subject. Additionally, members of the DTO utilize various "code words" on

the phone to describe their narcotics activities.
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                                   PROBABLE CAUSE


       9.     Postal and shipment records from the U.S. Postal Service and commercial

carriers such as UPS reveal that on December 29,2016,TRAPP received a UPS mail package

that contained 7.9 ounces of methamphetamine and 15.13 ounces of marijuana in the state of

New York. TRAPP was arrested for this conduct and sentenced to probation. TRAPP

listed 18 Wisteria Drive, Fredonia, New York as his residence for probation purposes.



       10.    On June 15, 2018, a United States Postal Inspector obtained a federal search

warrant from the Honorable Michael J. Roemer, Magistrate Judge for the Western District

of New York,for a Priority Mail Express parcel addressed to "Jasmin Lopez, 18 Wisteria Dr,

Fredonia, NY 14063" which further bears a retum address of"Jessica Brown, 1319 W 48"^ St.,

Los Angeles, CA 90038" The Priority Mail Express parcel bears USPS tracking number EL

399 584 144 US. and is a brown Ready Post cardboard box measuring approximately 15" x 12"

X 10", weighing approximately 4 lbs 13.6 oz, bearing $63.20 in postage and was mailed from

Los Angeles, CA 90030 (hereinafter the "Subject Parcel"). Execution of this search warrant

revealed that the Subject Parcel contained approximately 2 lbs. 1.3 oz. of a white crystalline

substance that field tested positive for methamphetamine, a Schedule n controlled substance.

Based on my training and experience, this quantity of methamphetamine is consistent with

large-scale drug trafficking and distribution and not with personal use.



       11.    On June 17, 2018, Magistrate Judge Michael J. Roemer issued an order

authorizing the installation, activation, and monitoring of an electronic transmitting device
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in the Subject Parcel and a search warrant for the premises at 18 Wisteria Drive, Fredonia,

New York.




       12.    On June 18, 2018, at approximately 2:00 FM, members of the DBA,the FBI

and USFIS conducted a controlled delivery of Subject Parcel to 18 Wisteria Drive, Fredonia,

New York. An electronic transmitter had been inserted into the Subject Parcel and the

methamphetamine was replaced with sham.           Prior to the delivery, officers with the

Jamestown Police Department and other law enforcement agents had established surveillance

ofthe residence.




       13.    Postal Inspector Brian Richards, acting in the role ofa U.S. Postal Service Mail

Carrier, delivered the Subject Parcel to 18 Wisteria Drive. When there was no answer at the

door. Inspector Richards left a notice regarding the parcel and walked away. At this time,

agents observed an individual later identified as Marcus Martin BOWMAN exit the residence

and run through the apartment complex parking lot, making several circles, appearing to be

looking for the mailman and the mail truck. Shortly thereafter, the U.S. Postal Inspector

retumed to the apartment complex and was met by BOWMAN in the parking

lot. BOWMAN and the U.S. Postal Inspector retumed to the front of 18 Wisteria Dr. and

BOWMAN accepted the package and entered the residence.



       14.    Approximately two minutes later, the transmitter in the Subject Parcel emitted

a high-frequency signal that alerted your Affiant and other members ofthe investigative team

that the Subject Parcel had been opened. As law enforcement attempted to enter the home.




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BOWMAN and/or TRAPP pushed the door shut. Law enforcement eventually made entry

and detained both subjects at the time.



       15.    On June 18, 2018, following the arrests of TRAPP and BOWMAN,Miranda

Rights were read to each individual by DEA SA Mike Terhune as wimessed by DEA SA

Dave Leary(Bowman)and DEA SA Dave Turner(Trapp) and they provided statements as

detailed below, in sum and substance.




       16.    When asked about the package that was delivered to the house today, TRAPP

stated that he did not know about the package and he wanted to talk to a lawyer before further

discussing the package. When asked about the gun in the house, TRAPP stated that he will

take that and that the gun is his. BOWMAN stated that the house where the package was

received was TRAPP's house. BOWMAN stated that he took the package from the mailman

but he didn't know what was m it. He stated that he was playing video games and working

out when the mailman knocked on the door. He stated that he was in the restroom when the

mailman knocked on the door. Upon opening the front door, BOWMAN noticed a package

notice on the door from the post office.



       17.    BOWMAN stated that he brought the package inside and placed it down on

the floor and behind a wall where he couldn't see the package. He then stated that he called

Briarma Darling, TRAPP's girlfriend, and stated that a package came and she said

ok. BOWMAN stated that TRAPP was upstairs with his son and BOWMAN was

downstairs. When asked who opened the package, BOWMAN repeated several times that
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BOWMAN did not open the package. When SA Terhune stated that there were only two

people in the house, BOWMAN maintained that he did not open the package and he does

not know who did. BOWMAN stated that he is TRAPP's cousin, is visiting from California

and has lived with TRAPP since March in a blue house on Thayer Street in

Jamestown. BOWMAN stated that he makes money by going to the casino and gambling in

Salamanca and Buffalo. He stated he sends money to Cahfomia to his son's mother.

BOWMAN further stated that he does not want to get killed. BOWMAN then stated that in

sum and substance, he took the package in and told "him" (referring to TRAPP) that the

package was here.



                    ACQUISITION OF ITEMS TO BE SEARCHED


       18.    On June 18, 2018, Agents of the DEA and other law enforcement agencies

executed a Federal Search Warrant at 18 Wisteria Drive, Fredonia, NY,14063. TRAPP and

BOWMAN were arrested via Criminal Complaint. Subsequent to the search warrant, law

enforcement seized Telephones 2, 3, and 4 from 18 Wisteria Drive. Law enforcement also

seized Telephone 1 from TRAPP's person.



USE OF ELECTRONIC DEVICFS BY JAMELL TRAPP AND MARCUS BOWMAN


       19.    A cellular or mobile telephone is a handheld wireless device used primarily for

communication through radio signals sent through networks of transmitter/receivers called

"cells," thereby communicating with other cellular telephones and/or "land line" telephones.

A cellular telephone usually has a "call log," which records the number, date, and time of

calls made to and from the device. In addition to voice communication, cellular telephones
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have a broad range of capabilities, including storing names and telephone numbers in

electronic address books; sending, receiving, and storing text messages and emails; taking,

sending, receiving, and storing photographs and videos; storing and playing audio files;

storing appointments and other data on personal calendars; and accessing and downloading

information from the Internet. Cellular telephones also may have global positioning system

("GPS")technology used to determine the location ofthe device. Based on my training and

experience in this and other investigations, individuals often use cellular telephones and other

electronic devices to communicate with others in furtherance of unlawful activities, including

delivery, transportation, storage, and distribution ofcontrolled substances and drug proceeds.



       20.     Based on my training and my experience, violators often use multiple cellular

telephones and electronic devices to evade detection by law enforcement. Thus, the 4

cellular telephones are believed to contain evidence ofillicit activities.



                             AUTHORIZATION TO SEARCH


       21.     Based on my training and experience, my participation in this and other

investigations, and my discussions with other law enforcement, I have learned that drug

traffickers frequently maintain information concerning their unlawful activities, such as text

messages, bbm messages, contact information, email addresses, telephone numbers, and

photographs, in cellular telephones, GPS devices, laptop computers, and tablet computers.

As a result, it is believed that the Items to be Searched are evidence of and contain evidence

of violations of Tide 21, United States Code, Sections 841(a)(1) and 846.
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       22.    Accordingly, authorization is sought to search the Items to Searched for the

following, listed in Exhibit B,attached to the Application:

              a.   Records of telephone calls, including incoming, outgoing, and
                   missed calls, contact information, including addresses, email
                   addresses and telephone numbers, documents and files that reflect
                   names, email addresses, email messages, addresses, telephone
                   numbers and objects related to: (i) the purchase, acquisition,
                   concealment, shipment, receipt and                distribution   of
                   methamphetamine,including any code words used to refer to such
                   controlled substances; (ii) packages and shipments from
                   California, Puerto Rico or other known sources of
                   methamphetamine; (iii) the exchange of money or goods related
                   to the purchase, acquisition, shipment, receipt and distribution of
                   methamphetamine,including any code words used to refer to such
                   controlled substances; and (iv) threats to individuals; and
                   photographs related to the above.
              b.   Records of text messages, bbm messages, and email messages,
                   including incoming and outgoing text messages, bbm messages,
                   and email messages, and the text, bbm,and email messages related
                   to: (i) the purchase, acquisition, concealment, shipment, receipt
                   and distribution of methamphetamine, including any code words
                   used to refer to such controlled substances; (ii) packages and
                   shipments from California, Puerto Rico or other known sources of
                   methamphetamine; (iii) the exchange of money or goods related
                   to the purchase, acquisition, shipment, receipt and distribution of
                   methamphetamine,including any code words used to refer to such
                   controlled substances; and (iv) threats to individuals.
              c.   Records regarding ownership of and/or possession ofthe Items to
                   be Searched; and
              d.   Electronic information, data, addresses, maps, and recordings of
                   travels, destinations, intended travels, approximate ground
                   position by utilizing satellites, including historical information,
                   navigation routes, satellite waypoints,saved addresses, destination
                   points, location, speed, and other positioning data.


       23.    Once the requested search warrants are issued, the Items to be Searched will be

submitted for forensic analysis, which may not be able to be conducted locally. While it may

be possible to conduct the search using a range ofdata analysis techniques rather than a time-

consuming manual search, how long the search will require to complete cannot be determined

until after the forensic analysis has begun. As a result, permission is requested to use all


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available data analysis techniques to locate and retrieve the evidence described above.

Further, while the undersigned will endeavor to ensure that the forensic analysis occurs

expeditiously, it is anticipated that the forensic analysis will not be completed within the

customary fourteen (14) day period specified in a search warrant.          Accordingly, it is

requested that the search warrants authorize agents to execute the search warrants and

conduct the forensic analysis ofthe Items to be Searched beyond that fourteen(14)day period.



       WHEREFORE,based upon the foregoing, your affiant submits that there is probable

cause to believe that the Items to be Searched are evidence of, and/or contain evidence of,

violations of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(B) and 846.




                                           STEPHEN J.i^kOKSHI
                                           Special Agent
                                           Drug Enforcement Administration


Sworn to before me this /Ji'yi/

day of July, 2018.




HONORABUE JEREMIAH J. MCCARTHY
United States Magistrate Judge




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